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Attorneys for Plaintiff
SIGRID R. WILLIAMS

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SIGRID R. WILLIAMS, on behalf of herself,
all others similarly situated,

Plaintiff,
VS.

NICHOLS DEMOS, INC., an Oregon
corporation; NICHOLS & ASSOCIATES,
INC., an Oregon corporation; FLAIR EVENT
MODELS, INC., an Oregon corporation;
COSTCO WHOLESALE CORPORATION, a
Washington corporation; and DOES 1 through
50, inclusive,

Defendants.

 

 

Case No.

CLASS ACTION

COMPLAINT

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2.

Failure to Provide Meal Periods (Lab. Code

$§ 204, 223, 226.7, 512 and 1198):

Failure to Provide Rest Periods (Lab. Code

§§ 204, 223, 226.7 and 1198):

Failure to Pay Hourly Wages (Lab. Code §§
223, 510, 1194, 1194.2, 1197, 1997.1 and

1198);

Failure to Indemnify (Lab. Code § 2802);
Failure to Provide Accurate Written Wage

Statements (Lab. Code §§ 226(a));

Failure to Timely Pay All Final Wages

(Lab. Code §§ 201, 202 and 203);

Unfair Competition (Bus. & Prof. Code §§

17200 et seq.);

Failure to Pay Employees For All Hours

Worked (29 U.S.C. §§ 201 et seq.)

JURY TRIAL DEMANDED

 

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COMES NOW, Plaintiff SIGRID R. WILLIAMS (“Plaintiff”), on behalf of herself, all

others similarly situated, complains and alleges as follows:
INTRODUCTION

l. Plaintiff brings this class action against Defendant NICHOLS DEMOS, INC., an
Oregon corporation; NICHOLS & ASSOCIATES, INC., an Oregon corporation; FLAIR EVENT
MODELS, INC., an Oregon corporation; COSTCO WHOLESALE CORPORATION, a
Washington corporation; and DOES | through 50, inclusive (collectively referred to as
Defendants”) for alleged violations of the Labor Code and Business and Professions Code. As set
forth below, Plaintiff alleges that Defendants have:

(1) failed to provide her and all other similarly situated individuals with meal
periods;

(2) failed to provide them with rest periods;

(3) failed to pay them premium wages for missed meal and/or rest periods;

(4) failed to pay them premium wages for missed meal and/or rest periods at the
regular rate of pay;

(5) failed to pay them at least minimum wage for all hours worked;

(6) failed to pay them overtime wages at the correct rate;

(7) failed to pay them double time wages at the correct rate;

(8) failed to reimburse them for all necessary business expenses;

(9) failed to provide them with accurate written wage statements; and

(10) failed to pay them all of their final wages following separation of
employment.

Based on these alleged Labor Code violations, Plaintiff now brings this class action to
recover unpaid wages, restitution and related relief on behalf of herself, all others similarly situated,
and the general public.

JURISDICTON AND VENUE
2. This Court has original subject matter jurisdiction over Plaintiff's claims pursuant to

28 U.S.C. section 1331 because these claims seek redress for violation of Plaintiff's and the

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putative class’ federal statutory rights under the Fair Labor Standards Act (28 U.S.C. § 201 et
Seq.).

3. This Court has supplemental jurisdiction over Plaintiff's and the putative class” state
law claims pursuant to 28 U.S.C. section 1367(a) because these claims are so closely related to
Plaintiff's and the putative class’ federal wage and hour claims that they form parts of the same
case or controversy under Article III of the United States Constitution.

4, Venue is proper in this District under 28 U.S.C. section 1391(b)(2) and (c) because
a substantial part of the events and omissions giving rise to the claims alleged in this complaint
occurred in this District.

PARTIES

5. Plaintiff SIGRID R. WILLIAMS is, and at all relevant times mentioned herein, an
individual residing in the State of California.

6. Plaintiff is informed and believes, and thereupon alleges that Defendant NICHOLS
DEMOS, INC. is, and at all relevant times mentioned herein, an Oregon corporation doing business
in the State of California.

7. Plaintiff is informed and believes, and thereupon alleges that Defendant NICHOLS
& ASSOCIATES, INC. is, and at all relevant times mentioned herein, an Oregon corporation doing
business in the State of California.

8. Plaintiff is informed and believes, and thereupon alleges that Defendant FLAIR
EVENT MODELS, INC. is, and at all relevant times mentioned herein, an Oregon corporation
doing business in the State of California.

9. Plaintiff is informed and believes, and thereupon alleges that Defendant COSTCO
WHOLESALE CORPORATION is, and at all relevant times mentioned herein, an Washington
corporation doing business in the State of California.

10. Plaintiff is ignorant of the true names and capacities of the defendants sued herein as
DOES | through 50, inclusive, and therefore sue these defendants by such fictitious names.
Plaintiff will amend this Complaint to allege the true names and capacities of the DOE defendants

when ascertained. Plaintiff is informed and believes, and thereupon alleges that each of the

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fictitiously named defendants are responsible in some manner for the occurrences, acts and
omissions alleged herein and that Plaintiff's alleged damages were proximately caused by these
defendants, and each of them. Plaintiff will amend this complaint to allege both the true names and
capacities of the DOE defendants when ascertained.

ll. Plaintiff is informed and believes, and thereupon alleges that, at all relevant times
mentioned herein, some or all of the defendants were the representatives, agents, employees,
partners, directors, associates, joint venturers, principals or co-participants of some or all of the
other defendants, and in doing the things alleged herein, were acting within the course and scope of
such relationship and with the full knowledge, consent and ratification by such other defendants.

12, Plaintiff is informed and believes, and thereupon alleges that, at all relevant times
mentioned herein, some of the defendants pursued a common course of conduct, acted in concert
and conspired with one another, and aided and abetted one another to accomplish the occurrences,
acts and omissions alleged herein.

GENERAL ALLEGATIONS

13, Plaintiff worked for Defendants as a non-exempt, hourly employee beginning

sometime on or about November 2013 through May 2017.
Misclassification as Independent Contractor

14. Prior to September 2016, Plaintiff and the putative class were hired by Defendants
as independent contractors to provide roadshow staffing for a variety of clients and primarily in
Costco stores. Plaintiff and the putative class were required to execute a written Standard
Independent Contractor Agreement. Pursuant to the terms of the written agreement, Plaintiff was
to be paid a flat rate of $160 each day regardless of the number of hours she actually worked; or
$180 each day if she also participated in the setup and teardown at each event. Each event
typically were for a ten-day duration.

15. Her duties were to sell a client’s products by providing in-store demonstrations and
samples, and to convey her knowledge of each product to prospective customers. During her
employment with Defendants, Plaintiff was required to report at a specified Costco store at set

times to perform her duties.

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16. Plaintiff made no investment in the equipment or materials used to perform her job
duties for Defendants.

Dye During her employment with Defendants, Plaintiff was required to submit daily
sales reports at the end of each night to Defendants and to account for the inventory of products to
be sold.

18. Plaintiff was required to be present when the Costco store opened and could not
leave until the last customer left the store. This is because when a customer placed an order, they
are given a voucher for the product they want to purchase. After paying for the product at the
check-out register, a Costco employee would then pick up the product from Plaintiff,

19. Notwithstanding Defendants’ misclassification of Plaintiff and the putative class as
independent contractors, at all relevant times, Plaintiff and the putative class were Defendants’
employees and as such were entitled to the protections of the Labor Code and the applicable
Industrial Welfare Commission Wage Order (“Wage Order”).

20; Defendants’ willfully misclassified Plaintiff and the putative class as independent
contractors. At all relevant times, Defendants have engaged in a pattern and/or practice of
misclassifying Plaintiff and the putative class as independent contractors.

21. Plaintiff is informed and believes and thereupon alleges that as a result of
Defendants’ practice and policy of misclassifying employees as independent contractors, Plaintiff
and the putative class were not provided with (1) meal and/or rest periods; (2) not paid for all hours

worked, including any overtime and double time wages, among other claims alleged in this

complaint.
Off-the-Clock Work
22. Plaintiff and the putative class were not paid all wages earned as Defendants

directed, permitted or otherwise encouraged Plaintiff and the putative class to perform work but

only paid them a flat daily rate, regardless of the actual number of hours worked by each of them.
Za Plaintiff and the putative class regularly reported to work at Costco before each

roadshow event in order set up their work areas and to move inventory of each client’s products so

they would be on hand to be sold and delivered to customers each day.

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24. Plaintiff and the putative class regularly reported to work at Costco before it opened
each day during each roadshow event in order to set up their work areas where they would be
selling each client’s products and would work until all customers had left the store. At the end of
each day, they were required to secure their work areas and inventory of products for the next day.
They were also required to prepare and submit a detailed sales report to Defendants at the end of
each night.

25. At the end of each roadshow event, Plaintiff and the putative class would also be
involved in tearing down the work areas, move the unsold inventory of products to a secure location
and provide a detailed accounting and report to Defendants.

26. Plaintiff and the putative class were also not paid for travel time to and from each
roadshow event regardless of the distance and the amount of time spent traveling.

27. Defendants failed to keep accurate records of all hours worked by Plaintiff and the
putative class and as alleged above, only paid them a flat daily rate regardless of the number of
actual hours worked by each of them.

28. As arresult of performing off-the-clock work that was directed, permitted or
otherwise encouraged by Defendants, Plaintiff and the putative class should have been paid for this
time. Instead, Defendants only paid Plaintiff and the putative class a flat daily rate regardless of the
number of actual hours worked by each of them.

29. Defendants knew or should have known that Plaintiff and the putative class were
performing work before and after their scheduled work shifts and failed to pay Plaintiff and the
putative class for these hours.

30. Plaintiff and the putative class regularly worked more than eight hours each workday
and/or more than forty hours each workweek and were not paid any overtime wages. On occasions
where Plaintiff and the putative class worked up to eight hours on the seventh consecutive day, they
were also not paid any overtime wages.

31, On occasions where Plaintiff and the putative class worked more than twelve hours
in a workday and/or more than eight hours on the seventh consecutive workday, they were not paid

any double time wages.

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32. Defendants were aware of this practice and directed, permitted or otherwise
encouraged Plaintiff and the putative class to perform off-the-clock work.

33. As a result of Defendants’ policies and practices, Plaintiff and the putative class were
not paid for all hours worked.

34. Plaintiff and the putative class members were not provided with meal periods of at
least thirty (30) minutes for each five (5) hour work period due to (1) Defendants’ policy of not
scheduling each meal period as part of each work shift; (2) chronically understaffing each work
shift with not enough workers; (3) imposing so much work on each employee such that it made it
unlikely that an employee would be able to take their breaks if they wanted to finish their work on
time; and (4) no formal written meal and rest period policy that encouraged employees to take their
meal and rest periods.

35. As a result of Defendants’ policy, Plaintiff and the putative class were regularly not
provided with uninterrupted meal periods of at least thirty (30) minutes for each five (5) hours
worked due to complying with Defendants’ productivity requirements that required Plaintiff and
the putative class to work through their meal periods in order to complete their assignments on
time.

Missed Rest Periods

36. Plaintiff and the putative class members were not provided with rest periods of at
least ten (10) minutes for each four (4) hour work period, or major fraction thereof, due to (1)
Defendants’ policy of not scheduling each rest period as part of each work shift; (2) chronically
understaffing each work shift with not enough workers; (3) imposing so much work on each
employee such that it made it unlikely that an employee would be able to take their breaks if they
wanted to finish their work on time; and (4) no formal written meal and rest period policy that
encouraged employees to take their meal and rest periods.

a1 As a result of Defendants’ policy, Plaintiff and the putative class were regularly not
provided with uninterrupted rest periods of at least ten (10) minutes for each four (4) hours worked

due to complying with Defendants’ productivity requirements that required Plaintiff and the

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putative class to work through their rest periods in order to complete their assignments on time.
Expense Reimbursement

38. Plaintiff and the putative class members were required to utilize their own personal
vehicles to travel to each roadshow event. Plaintiff and the putative class members were required to
transport an inventory of products to be sold at each roadshow event along with marketing materials
to be used at each event.

39, Plaintiff and the putative class members were not reimbursed for mileage for travel
to and from each roadshow event.

40. Defendants failed to reimburse Plaintiff and the putative class for such necessary
business expenses incurred by them.

Regular Rate of Pay

41. The regular rate of pay under California law includes all remuneration for
employment paid to, on behalf of, the employee. This requirement includes, but is not limited, to,
commissions and non-discretionary bonuses.

42. During the applicable limitations period, Defendants violated the rights of Plaintiff
and the putative class under the above-referenced Labor Code sections by failing to pay them
overtime wages for all overtime hours worked in violation of Labor Code sections 510, 1194 and
1198 as a result of not correctly calculating their regular rate of pay to include all applicable

remuneration, including, but not limited to, non-discretionary bonuses and/or non-discretionary

bonuses.
Wage Statements
43. Plaintiff and the putative class were not provided with accurate wage statements as

mandated by law pursuant to Labor Code section 226.
44, Defendants failed to comply with Labor Code section 226(a)(1) as “gross wages
earned” were not accurately reflected in that:
¢ all hours worked, including overtime, were not paid and so gross wages earned were
not accurate;

e any and all meal and/or rest period premium wages were not paid and so gross wages

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earned were not accurate;
e the regular rate of pay was not properly calculated and so the gross wages earned
were not accurate.

45. Defendants failed to comply with Labor Code section 226(a)(2) as “total hours
worked by the employee” were not accurately reflected in that:

e all hours worked, including overtime, were not paid and so total hours worked by the
employee were not accurate.

46. Defendants failed to comply with Labor Code section 226(a)(5) as “net wages
earned” were not accurately reflected in that:

e all hours worked, including overtime, were not paid and so net wages earned were
not accurate;

e any and all meal and/or rest period premium wages were not paid and so net wages
neared were not accurate;

e the regular rate of pay was not properly calculated and so net wages earned were not
accurate.

47. Defendants failed to comply with Labor Code section 226(a)(9) as “all applicable
hourly rates in effect during the pay period and the corresponding number of hours worked at each
hourly rate by the employee” were not accurately reflected in that:

e all hours worked, including overtime, were not paid and so corresponding number of
hours worked at each hourly rate by the employee were not accurate;
e the regular rate of pay was not properly calculated and so all applicable hourly rates
in effect during the pay period were not accurate.
CLASS ALLEGATIONS

48. This action has been brought and may be maintained as a class action pursuant to
Federal Rules of Civil Procedure 23 because there is a well-defined community of interest among
the persons who comprise the readily ascertainable classes defined below and because Plaintiff is
unaware of any difficulties likely to be encountered in managing this case as a class action.

49. Relevant Time Period: The relevant time period is defined as the time period

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beginning four years prior to the filing of this action until judgment is entered.
Hourly Employee Class: All persons who worked at Costco employed by Defendants as
“vendor employees” and/or any staffing agencies and/or any other third parties in hourly or
non-exempt positions in California during the Relevant Time Period.

Meal Period Sub-Class: All Hourly Employee Class members who worked in a
shift in excess of five hours during the Relevant Time Period.

Rest Period Sub-Class: All Hourly Employee Class members who worked a shift
of at least three and one-half (3.5) hours during the Relevant Time Period.

Wage Statement Penalties Sub-Class: All Hourly Employee Class members
employed by Defendants in California during the period beginning one year before
the filing of this action and ending when final judgment is entered.

Waiting Time Penalties Sub-Class: All Hourly Employee Class members who
separated from their employment with Defendants during the period beginning three
years before the filing of this action and ending when final judgment is entered.

FLSA Class: All persons who worked at Costco employed by Defendants as “vendor

employees” and/or any staffing agencies and/or any other third parties in the United States

who worked in hourly or non-exempt positions during the Relevant Time Period.

Expense Reimbursement Class: All persons who worked at Costco employed by

Defendants and/or any staffing agencies and/or any other third parties in California who

incurred business expenses during the Relevant Time Period.

UCL Class: All Hourly Employee Class members employed by Defendants in California

during the Relevant Time Period.

50. Reservation of Rights: Plaintiff reserves the right to amend or modify the class
definitions with greater specificity, by further division into sub-classes and/or by limitation to
particular issues.

51. Numerosity: The class members are so numerous that the individual joinder of each
individual class member is impractical. While Plaintiff does not currently know the exact number
of class members, Plaintiff is informed and believes, and thereupon alleges that the actual number
exceeds the minimum required for numerosity under California law.

S52. Commonality and Predominance: Common questions of law and fact exist as to
all class members and predominate over any questions which affect only individual class members.
These common questions include, but are not limited to:

A. Whether Defendants maintained a policy or practice of failing to provide

employees with their meal periods;

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B. Whether Defendants maintained a policy or practice of failing to provide
employees with their rest periods;

c Whether Defendants failed to pay premium wages to class members when
they have not been provided with required meal and/or rest periods;

D. Whether Defendants failed to pay minimum and/or overtime wages to class
members as a result of policies that fail to provide meal periods in accordance
with California law;

E, Whether Defendants failed to pay minimum and/or overtime wages to class
members for all time worked;

F. Whether Defendants used payroll formulas that systematically fail to account
for non-discretionary bonuses and/or other applicable remuneration when
calculating regular rates of pay for class members;

G. Whether Defendants failed to pay overtime wages to class members as a
result of incorrectly calculating their regular rates of pay;

H. Whether Defendants failed to pay premium wages to class members based on
their respective “regular rates of compensation” by not including
commissions and/or other applicable remuneration in calculating the rates at
which those wages are paid;

I. Whether Defendants failed to reimburse class members for all necessary
business expenses incurred during the discharge of their duties;

J Whether Defendants failed to provide class members with accurate written
wage statements as a result of providing them with written wage statements
with inaccurate entries for, among other things, amounts of gross and net
wages, and total hours worked;

K. Whether Defendants applied policies or practices that result in late and/or
incomplete final wage payments;

L. Whether Defendants are liable to class members for waiting time penalties

under Labor Code section 203;

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M. Whether class members are entitled to restitution of money or property that
Defendants may have acquired from them through unfair competition.

53. Typicality: Plaintiff's claims are typical of the other class members’ claims.
Plaintiff is informed and believes and thereupon alleges that Defendants have a policy or practice of
failing to comply with the Labor Code and Business and Professions Code as alleged in this
Complaint.

54, Adequacy of Class Representative: Plaintiff is an adequate class representative in
that he has no interests that are adverse to, or otherwise conflict with, the interests of absent class
members and is dedicated to vigorously prosecuting this action on their behalf. Plaintiff will fairly
and adequately represent and protect the interests of the other class members.

55. Adequacy of Class Counsel: Plaintiff's counsel are adequate class counsel in that
they have no known conflicts of interest with Plaintiff or absent class members, are experienced in
wage and hour class action litigation, and are dedicated to vigorously prosecuting this action on
behalf of Plaintiff and absent class members.

56. Superiority: A class action is vastly superior to other available means for fair and
efficient adjudication of the class members’ claims and would be beneficial to the parties and the
Court. Class action treatment will allow a number of similarly situated persons to simultaneously
and efficiently prosecute their common claims in a single forum without the unnecessary
duplication of effort and expense that numerous individual actions would entail. In addition, the
monetary amounts due to many individual class members are likely to be relatively small and would
thus make J difficult, if not impossible, for individual class members to both seek and obtain relief.
Moreover, a class action will serve an important public interest by permitting class members to
effectively pursue the recovery of monies owed to them. Further, a class action will prevent the
potential for inconsistent or contradictory judgments inherent in individual litigation.
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FIRST CAUSE OF ACTION
FAILURE TO PROVIDE MEAL PERIODS
(Lab. Code §§ 004, 223, 226.7, 512 and 1198)

(Plaintiff and Meal Period Sub-Class)

57. Plaintiff incorporates by reference the preceding paragraphs of the Complaint as if
fully alleged herein.

58. At all relevant times, Plaintiff and the Meal Period Sub-Class members have been
non-exempt employees of Defendant entitled to the full meal period protections of both the Labor
Code and the applicable Industrial Welfare Commission Wage Order.

59. Labor Code section 512 and Section 11 of the applicable Industrial Welfare
Commission Wage Order impose an affirmative obligation on employers to provide non-exempt
employees with uninterrupted, duty-free meal periods of at least thirty minutes for each work period
of five hours, and to provide them with two uninterrupted, duty-free meal periods of at least thirty
minutes for each work period of ten hours.

60. Labor Code section 226.7 and Section 11 of the applicable Industrial Welfare
Commission Wage Order (“Wage Order”) both prohibit employers from requiring employees to
work during required meal periods and require employers to pay non-exempt employees an hour of

premium wages on each workday that the employee is not provided with the required meal period.

61. Compensation for missed meal periods constitutes wages within the meaning of
Labor Code section 200.
62. Labor Code section 1198 makes it unlawful to employ a person under conditions that

violate the applicable Wage Order.
63. Section 11 of the applicable Wage Order states:

“No employer shall employ any person for a work period of more than five (5) hours
without a meal period of not less than 30 minutes, except that when a work period of
not more than six (6) hours will complete the day’s work the meal period may be
waived by mutual consent of the employer and employee. Unless the employee is
relieved of all duty during a 30 minute meal period, the meal period shall be
considered an ‘on duty’ meal period and counted as time worked. An ‘on duty’ meal
period shall be permitted only when the nature of the work prevents an employee
from being relieved of all duty and when by written agreement between the parties
an on-the-job paid meal period is agreed to. The written agreement shall state that

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the employee may, in writing, revoke the agreement at any time.”

64, Atall relevant times, Plaintiff was not subject to a valid on-duty meal period
agreement. Plaintiff is informed and believes that, at all relevant times, Meal Period Sub-Class
members were not subject to valid on-duty meal period agreements with Defendants,

65. Plaintiff alleges that, at all relevant times during the applicable limitations period,
Defendants maintained a policy or practice of not providing Plaintiff and members of the Meal
Period Sub-Class with uninterrupted, duty-free meal periods for at least thirty (30) minutes for
each five (5) hour work period, as required by Labor Code section 512 ad the applicable Wage
Order.

66. Plaintiff alleges that, at all relevant times during the applicable limitations period,
Defendants maintained a policy or practice of failing to pay premium wages to Meal Period Sub-
Class members when they worked five (5) hours without clocking out for any meal period.

67. Plaintiff alleges that, at all relevant times during the applicable limitations period,
Defendants maintained a policy or practice of not providing Plaintiff and members of the Meal
Period Sub-Class with a second meal period when they worked shifts of ten or more hours and
failed to pay them premium wages as required by Labor Code 512 and the applicable Wage Order.

68. Moreover, Defendants written policies do not provide that employees must take their
first meal period before the end of the fifth hour of work, that they are entitled to a second meal
period if they work a shift of over ten hours, or that the second meal period must commence before
the end of the tenth hour of work, unless waived.

69, At all relevant times, Defendants failed to pay Plaintiff and the Meal Period Sub-
Class members additional premium wages, and/or were not paid premium wages at the employees’
regular rates of pay when required meal periods were not provided.

70, Pursuant to Labor Code section 204, 218.6 and 226.7, Plaintiff, on behalf of herself
and the Meal Period Sub-Class members, seek to recover unpaid premium wages, interest thereon,
and costs of suit.

71. Pursuant to Labor Code section 1194, Code of Civil Procedure section 1021.5, the

substantial benefit doctrine, and/or the common fund doctrine, Plaintiff, on behalf of herself and the

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Meal Period Sub-Class members, seek to recover reasonable attorneys’ fees.
SECOND CAUSE OF ACTION
FAILURE TO PROVIDE REST PERIODS
(Lab. Code §§ 204, 223, 226.7 and 1198)
(Plaintiff and Rest Period Sub-Class)

72. Plaintiff incorporates the preceding paragraphs of the Complaint as if fully alleged
herein.

73. At all relevant times, Plaintiff and the Rest Period Sub-Class members have been
non-exempt employees of Defendants entitled to the full rest period protections of both the Labor
Code and the applicable Wage Order.

74. Section 12 of the applicable Wage Order imposes an affirmative obligation on
employers to permit and authorize employees to take required rest periods at a rate of no less than
ten minutes of net rest time for each four hour work period, or major fraction thereof, that must be
in the middle of each work period insofar as practicable.

ve. Labor Code section 226.7 and Section 12 of the applicable Wage Order both prohibit
employers from requiring employees to work during required rest periods and require employers to
pay non-exempt employees an hour of premium wages at the employees’ regular rates of pay, on

each workday that the employee is not provided with the required rest period(s).

76. Compensation for missed rest periods constitutes wages within the meaning of Labor
Code section 200.
77. Labor Code section 1198 makes it unlawful to employ a person under conditions that

violate the Wage Order.

78. Plaintiff alleges that, at all relevant times during the applicable limitations period,
Defendants maintained a policy or practice of not providing members of the Rest Period Sub-Class
with net rest period of at least ten minutes for each four hour work period, or major fraction thereof,
as required by the applicable Wage Order.

79. At all relevant times, Defendants failed to pay Plaintiff and the Rest Period Sub-

Class members additional premium wages when required rest periods were not provided.

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80. Specifically, Defendants written policies do not provide that employees may take a
rest period for each four hours worked, or major fraction thereof, and that rest periods should be
taken in the middle of each work period insofar as practicable.

81. Pursuant to Labor Code section 204, 218.6 and 226.7, Plaintiff, on behalf of herself
and Rest Period Sub-Class members, seek to recover unpaid premium wages, interest thereon, and
costs of suit.

82. Pursuant to Labor Code section 1194, Code of Civil Procedure section 1021.5, the
substantial benefit doctrine, and/or the common fund doctrine, Plaintiff, on behalf of herself and
Rest Period Sub-Class members, seek to recover reasonable attorneys’ fees.

THIRD CAUSE OF ACTION
FAILURE TO PAY HOURLY AND OVERTIME WAGES
(Lab. Code §§ 223, 510, 1194, 1197 and 1198)
(Plaintiff and Hourly Employee Class)

83. Plaintiff incorporates the preceding paragraphs of the Complaint as if fully alleged
herein.

84. At all relevant times, Plaintiff and Hourly Employee Class members are or have
been non-exempt employees of Defendants entitled to the full protections of the Labor Code and the
applicable Wage Order.

85. Section 2 of the applicable Wage Order defines “hours worked” as “the time during
which an employee is subject to the control of the employer, and includes all the time the employee
is suffered or permitted to work, whether or not required to do so.”

86. Section 4 of the applicable Wage Order requires an employer to pay non-exempt
employees at least the minimum wage set forth therein for all hours worked, which consist of all
hours that an employer has actual or constructive knowledge that employees are working.

87. Labor Code section 1194 invalidates any agreement between an employer and an
employee to work for less than the minimum or overtime wage required under the applicable Wage
Order.

88. Labor Code section 1194.2 entitles non-exempt employees to recover liquidated

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damages in amounts equal to the amounts of unpaid minimum wages and interest thereon in
addition to the underlying unpaid minimum wages and interest thereon.

89. Labor Code section 1197 makes it unlawful for an employer to pay an employee less
than the minimum wage required under the applicable Wage Order for all hours worked during a
payroll period.

90. Labor Code section 1197.1 provides that it is unlawful for any employer or any other
person acting either individually or as an officer, agent or employee of another person, to pay an
employee, or cause an employee to be paid, less than the applicable minimum wage.

i. Labor Code section 1198 makes it unlawful for employers to employ employees
under conditions that violate the applicable Wage Order.

92. Labor Code section 204 requires employers to pay non-exempt employees their
earned wages for the normal work period at least twice during each calendar month on days the
employer designates in advance and to pay non-exempt employees their earned wages for labor
performed in excess of the normal work period by no later than the next regular payday.

93. Labor Code section 223 makes it unlawful for employers to pay their employees
lower wages than required by contract or statute while purporting to pay them legal wages.

94. Labor Code section 510 and Section 3 of the applicable Wage Order require
employees to pay non-exempt employees overtime wages of no less than one and one-half times
their respective regular rates of pay for all hours worked in excess of eight hours in one workday, all
hours worked in excess of forty hours in one workweek, and/or for the first eight hours worked on
the seventh consecutive day of one workweek.

95, Labor Code section 510 and Section 3 of the applicable Wage Order also require
employers to pay non-exempt employees overtime wages of no less than two times their respective
regular rates of pay for all hours worked in excess of twelve hours in one workday and for all hours
worked in excess of eight hours on a seventh consecutive workday during the workweek.

96. Plaintiff is informed and believes that, at all relevant times, Defendants have applied
centrally devised policies and practices to her and Hourly Employee Class members with respect

to working conditions and compensation arrangements.

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97. Atall relevant times, Defendants failed to pay hourly wages to Plaintiff and Hourly
Employee Class members for all time worked, including but not limited to, overtime hours at
statutory and/or agreed rates.

98. During the relevant time period, Defendants failed to pay Plaintiff and Hourly
Employee Class members all earned wages every pay period at the correct rates, including
overtime rates, because Defendants directed, permitted or otherwise encouraged Plaintiff and
Hourly Employee Class members to perform off-the-clock work.

99. As aresult of Defendants’ unlawful conduct, Plaintiff and Hourly Employee Class
members have suffered damages in an amount, subject to proof, to the extent they were not paid the
full amount of wages earned during each pay period during the applicable limitations period,
including overtime wages.

100. Pursuant to Labor Code sections 204, 218.6, 223, 510, 1194 and 1194.2, Plaintiff, on
behalf of herself and Hourly Employee Class members, seek to recover unpaid straight time and
overtime wages, interest thereon and costs of suit.

101. The regular rate of pay under California law includes all remuneration for
employment paid to, on behalf of, the employee. This requirement includes but is not limited to,
commission, non-discretionary bonuses, shift differential pay and per diem.

102. During the applicable limitations period, Defendants violated the rights of Plaintiff
and Hourly Employee Class members under the above-referenced Labor Code sections by failing
to pay them overtime wages for all overtime hours worked in violation of Labor Code sections 510,
1194 and 1198 by not correctly calculating their regular rate of pay to include all applicable
remuneration.

103. California law uses the terms “compensation” and “pay” interchangeably and
requires that all applicable remuneration be included when calculating an employee’s regular rate of
pay.

104. At all relevant times, Defendants failed to pay Plaintiff premium wages based and at
a rate of compensation that reflected all remuneration paid to her, as required by Labor Code section

226.7(b) and Sections 11 and 12 of the applicable Wage Order when she was not provided with her

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meal and/or rest periods.

105. Plaintiff is informed and believes, and thereupon alleges that, at all relevant times
during the applicable limitations period, Defendants maintained a policy or practice of paying
Hourly Employee Class members premium wages based on rates of compensation that have not
reflected all remuneration as required by Labor Code section 226.7(b) and Sections 11 and 12 of the
applicable Wage Order on the occasions when Defendants paid them premium wages in lieu of
meal and/or rest periods.

106. Pursuant to Labor Code section 1194, Code of Civil Procedure section 1021 .5, the
substantial benefit doctrine, and/or the common fund doctrine, Plaintiff, on behalf of herself and
Hourly Employee Class members, seek to recover reasonable attorneys’ fees.

FOURTH CAUSE OF ACTION
FAILURE TO INDEMNIFY
(Lab. Code § 2802)
(Plaintiff and Expense Reimbursement Class)

107. Plaintiff incorporates the preceding paragraphs of the Complaint as if fully alleged
herein.

108. Labor Code section 2802(a) states:

“An employer shall indemnify his or her employee for all necessary expenditures or
losses incurred by the employee in direct consequence of the discharge of his or her
duties, or of his or her obedience to the directions of the employer, even though
unlawful, unless the employee, at the time of obeying the directions, believed them
to be unlawful.”

109. At all relevant times during the applicable limitations period, Plaintiff and the
Expense Reimbursement Class members incurred necessary business related expenses and costs,
including but not limited to, mileage incurred for the use of her personal vehicle.

110. Plaintiff is informed and believes, and thereupon alleges that the reimbursement paid
by Defendants was insufficient to indemnify Plaintiff and Expense Reimbursement Class
members for all necessary expenses incurred in the discharge of their duties.

111.  Plaintiffis informed and believes and thereupon alleges that the reimbursement paid

by Defendants was insufficient to indemnify Expense Reimbursement Class members for all

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necessary business expenses incurred in the discharge of their duties.

112. Atal] relevant times during the applicable limitations period, Defendants required
Plaintiff and the Expense Reimbursement Class members to pay for expenses and/or losses caused
by Defendants’ want of ordinary care. Defendants failed to indemnify Plaintiff and Expense
Reimbursement Class members for all such expenditures.

113.  Plaintiffis informed and believes that, during the applicable limitations period,
Defendants maintained a policy or practice of not reimbursing Plaintiff and Expense
Reimbursement Class members for all necessary business expenses.

114. Accordingly, Plaintiff and Expense Reimbursement Class members are entitled to
restitution for all unpaid amounts due and owing to within four years of the date of the filing of the
Complaint and until the date of entry of judgment.

115. Plaintiff, on behalf of herself, and Expense Reimbursement Class members, seek
interest thereon and costs pursuant to Labor Code section 218.6, and reasonable attorneys’ fees
pursuant to Code of Civil Procedure section 1021.5.

FIFTH CAUSE OF ACTION
FAILURE TO PROVIDE ACCURATE WRITTEN WAGE STATEMENTS
(Lab. Code § 226)
(Plaintiff and Wage Statement Penalties Sub-Class)

116. Plaintiff incorporates the preceding paragraphs of the Complaint as if fully alleged
herein.

117. Labor Code section 226(a) states:

“An employer, semimonthly or at the time of each payment of wages, shall furnish to
his or her employee, either as a detachable part of the check, draft, or voucher paying
the employee’s wages, or separately if wages are paid by personal check or cash, an
accurate itemized statement in writing showing (1) gross wages earned, (2) total
hours worked by the employee, except as provided in subdivision (j), (3) the number
of piece-rate units earned and any applicable piece rate if the employee is paid ona
piece-rate basis, (4) all deductions, provided that all deductions made on written
orders of the employee may be aggregated and shown as one item, (5) net wages
earned, (6) the inclusive dates of the period for which the employee is paid, (7) the
name of the employee and only the last four digits of his or her social security
number or an employee identification number other than a social security number,

(8) the name and address of the legal entity that is the employer and, if the employer
is a farm labor contractor, as defined in subdivision (b) of Section 1682, the name

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and address of the legal entity that secured the services of the employer, and (9) all
applicable hourly rates in effect during the pay period and the corresponding number
of hours worked at each hourly rate by the employee and, beginning July 1, 2013, if
the employer is a temporary services employer as defined in Section 201.3, the rate
of pay and the total hours worked for each temporary services assignment. The
deductions made from payment of wages shall be recorded in ink or other indelible
form, properly dated, showing the month, day, and year, and a copy of the statement
and the record of the deductions shall be kept on file by the employer for at least
three years at the place of employment or at a central location within the State of
California. For purposes of this subdivision, ‘copy’ includes a duplicate of the
itemized statement provided to an employee or a computer-generated record that
accurately shows all of the information required by this subdivision.”

118. Plaintiff is informed and believes that, at all relevant times during the applicable
limitations period, Defendants have failed to provide Wage Statement Penalties Sub-Class
members with written wage statements as described above.

119. Plaintiffis informed and believes that Defendants’ failure to provide her and Wage
Statement Penalties Sub-Class members with accurate written wage statements were intentional in
that Defendants have the ability to provide them with accurate wage statements but have
intentionally provided them with written wage statements that Defendants have known do not
comply with Labor Code section 226(a).

120. Plaintiff and Wage Statement Penalties Sub-Class members have suffered injuries,
in that Defendants have violated their legal rights to receive accurate wage statements and have
misled them about their actual rates of pay and wages earned. In addition, inaccurate information
on their wage statements have prevented immediate challenges to Defendants’ unlawful pay
practices, has required discovery and mathematical computations to determine the amount of wages
owed, has caused difficulty and expense in attempting to reconstruct time and pay records, and/or
has led to the submission of inaccurate information about wages and deductions to federal and state
government agencies.

121. Pursuant to Labor Code section 226(e), Plaintiff, on behalf of herself and Wage
Statement Penalties Sub-Class members, seek the greater of actual damages or $50.00 for the
initial pay period in which a violation of Labor Code section 226(a) occurred, and $100.00 for each

subsequent pay period in which a violation of Labor Code section 226(a) occurred, not to exceed an

aggregate penalty of $4000.00 per class member, as well as awards of reasonable attorneys’ fees

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and costs.
SIXTH CAUSE OF ACTION
FAILURE TO TIMELY PAY ALL FINAL WAGES
(Lab. Code §§ 201-203)
(Plaintiff and Waiting Time Penalties Sub-Class)

122. Plaintiff incorporates the preceding paragraphs of the Complaint as if fully alleged
herein.

123. Atall relevant times, Plaintiff and Waiting Time Penalties Sub-Class members
have been entitled, upon the end of their employment with Defendants, to timely payment of all
wages earned and unpaid before termination or resignation.

124. Atall relevant times, pursuant to Labor Code section 201, employees who have been
discharged have been entitled to payment of all final wages immediately upon termination.

125. Atall relevant times, pursuant to Labor Code section 202, employees who have
resigned after giving at least seventy-two (72) hours notice of resignation have been entitled to
payment of all final wages at the time of resignation.

126. Atall relevant times, pursuant to Labor Code section 202, employees who have
resigned after giving less than seventy-two (72) hours notice of resignation have been entitled to
payment of all final wages within seventy-two (72) hours of giving notice of resignation.

127. During the applicable limitations period, Defendants failed to pay Plaintiff all of her
final wages in accordance with the Labor Code by failing to timely pay her all of her final wages.

128. Plaintiff is informed and believes that, at all relevant time during the applicable
limitations period, Defendants have failed to timely pay Waiting Time Penalties Sub-Class
members all of their final wages in accordance with the Labor Code.

129,  Plaintiffis informed and believes that, at all relevant times during the applicable
limitations period, Defendants have maintained a policy or practice of paying Waiting Time
Penalties Sub-Class members their final wages without regard to the requirements of Labor Code
sections 201 or 202 by failing to timely pay them all final wages.

130. Plaintiff is informed and believes and thereupon alleges that Defendants’ failure to

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timely pay all final wages to her and Waiting Time Penalties Sub-Class members have been
willful in that Defendants have the ability to pay final wages in accordance with Labor Code
sections 201 and/or 202 but have intentionally adopted policies or practices that are incompatible
with those requirements.

131. Pursuant to Labor Code sections 203 and 218.6, Plaintiff, on behalf of herself and
Waiting Time Penalties Sub-Class members, seek waiting time penalties from the dates that their
final wages have first become due until paid, up to a maximum of thirty days, and interest thereon.

132. Pursuant to Code of Civil Procedure section 1021.5, the substantial benefit doctrine
and/or the common fund doctrine, Plaintiff, on behalf of herself and Waiting Time Penalties Sub-
Class members, seek awards of reasonable attorneys’ fees and costs.

SEVENTH CAUSE OF ACTION
UNFAIR COMPETITION
(Bus. & Prof. Code §§ 17200 et seq.)
(Plaintiff and UCL Class)

133. Plaintiff incorporates the preceding paragraphs of the Complaint as if fully alleged
herein.

134. Business and Professions Code section 17200 defines “unfair competition” to
include any unlawful business practice.

135. Business and Professions Code section 17203-17204 allow a person who has lost
money or property as a result of unfair competition to bring a class action in accordance with Code
of Civil Procedure section 382 to recover money or property that may have been acquired from
similarly situated persons by means of unfair competition.

136. California law requires employers to pay hourly, non-exempt employees for all hours
they are permitted or suffered to work, including hours that the employer knows or reasonable
should know that employees have worked.

137. Plaintiff and the UCL Class members re-alleges and incorporates the FIRST,
SECOND, THIRD and FOURTH causes of action herein.

138. Plaintiff lost money or property as a result of the aforementioned unfair competition.

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139. Defendants have or may have acquired money by means of unfair competition.

140. Plaintiff's informed and believes and thereupon alleges that by committing the
Labor Code violations described in this Complaint, Defendants violated Labor Code sections 21 5,
216, 225, 226.6, 354, 408, 553, 1175, 1199 and 2802, which make it a misdemeanor to commit the
Labor Code violations alleged herein.

141. Defendants have committed criminal conduct through their policies and practices of,
inter alia, failing to comport with their affirmative obligations as an employer to provide non-
exempt employees with uninterrupted, duty-free meal periods of at least thirty minutes for each
work period of five or more hours, by failing to provide non-exempt employees with paid ten-
minute rest period for every four hours worked or major fraction thereof, and by failing to pay non-
exempt employees for all hours worked.

142. At all relevant times, Plaintiff and UCL Class members have been non-exempt
employees and entitled to the full protections of both the Labor Code and the applicable Wage
Order.

143. Defendants’ unlawful conduct as alleged in this Complaint amounts to and
constitutes unfair competition within the meaning of Business and Professions Code section 17200
et seq. Business and Professions Code sections 17200 et seq. protects against unfair competition
and allows a person who has suffered an injury-in-fact and has lost money or property as a result of
an unfair, unlawful or fraudulent business practice to seek restitution on her own behalf and on
behalf of similarly situated persons in a class action proceeding.

144. Asa result of Defendants’ violations of the Labor Code during the applicable
limitations period, Plaintiff has suffered an injury-in-fact and has lost money or property in the form
of earned wages. Specifically, Plaintiff has lost money or property as a result of Defendants’
conduct.

145. Plaintiff is informed and believes that other similarly situated persons have been
subject to the same unlawful policies or practices of Defendants.

146. Due to the unfair and unlawful business practices in violation of the Labor Code,

Defendants have gained a competitive advantage over other comparable companies doing business

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in the State of California that comply with their legal obligations.

147. California’s Unfair Competition Law (“UCL”) permits civil recovery and injunctive
for “any unlawful, unfair or fraudulent business act or practice,” including if a practice or act
violates or is considered unlawful under any other state or federal law.

148. Accordingly, pursuant to Bus. & Prof. Code sections 17200 and 17203, Plaintiffs
request the issuance of temporary, preliminary and permanent injunctive relief enjoining
Defendants, and each of them, and their agents and employees, from further violations of the Labor
Code and applicable Industrial Welfare Commission Wage Orders; and upon a final hearing seek
an order permanently enjoining Defendants, and each of them, and their respective agents and
employees, from further violations of the Labor Code and applicable Industrial Welfare
Commission Wage Orders.

149. Pursuant to Business and Professions Code section 17203, Plaintiff, on behalf of
herself and UCL Class members, seek declaratory relief and restitution of all monies rightfully
belonging to them that Defendants did not pay them or otherwise retained by means of its unlawful
and unfair business practices.

150. Pursuant to Code of Civil Procedure section 1021.5, the substantial benefit doctrine
and/or the common fund doctrine, Plaintiff and UCL Class members are entitled to recover
reasonable attorneys’ fees in connection with their unfair competition claims.

EIGHTH CAUSE OF ACTION
FAILURE TO PAY EMPLOYEES FOR ALL HOURS WORKED
IN VIOLATION OF THE FEDERAL FAIR LABOR STANDARDS ACT
(29 U.S.C. §§ 201, et seq.)

151. Plaintiff incorporates the preceding paragraphs of the Complaint as if fully alleged
herein.

152. At all material times herein, Plaintiff and all similarly situated FLSA Class members
who submit “Consents to Become Party Plaintiffs” are or were employed by and engaged in
providing services necessary to description of duties by Defendants, and have been entitled to the

rights, protections, and benefits provided under the FLSA, 29 U.S.C. sections 201 ef seq.

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153. The FLSA requires, among other things, that employers pay employees the minimum
wage for all time worked plus overtime. 29 U.S.C. sections 206, 207, 215.

154. At all material times, the duties and activities of Plaintiff and the putative class while
working for Defendants as “vendor employees” are necessarily and directly related to the principal
activities of the employee’s duties, and thus constitutes compensable time under the FLSA and is
subject to the FLSA's overtime requirements. 29 C.F.R. section 785.38.

155. At all material times herein, Defendants have violated the FLSA by failing to pay
Plaintiff for all hours worked and at the applicable rate of pay.

156. Atall material times herein, Defendants have violated the FLSA by failing to pay
FLSA Class at one-and-one-half (1.5) times the regular rate of pay when meeting time causes an
employee's total hours worked to exceed forty (40) hours in a week.

157. Defendants have also violated the FLSA by failing to keep required, accurate records
of all hours worked by FLSA Class members. 29 U.S.C. section 2Il(c).

158. Plaintiffs and all similarly situated employees are victims of a uniform and entity-
wide compensation policy. This uniform policy, in violation of the FLSA, has been applied to all
employees employed by Defendants.

159. Plaintiffs and all similarly situated individuals are entitled to damages equal to the
mandated pay and overtime premium pay within the three (3) years preceding the filing of this
Complaint, plus periods of equitable tolling, because Defendants acted willfully and knew or
showed reckless disregard of whether their conduct was prohibited by the FLSA.

160. Defendants have acted neither in good faith nor with reasonable grounds to believe
that their actions and omissions were not a violation of the FLSA. Plaintiffs and other similarly
situated individuals are entitled to recover an award of liquidated damages in an amount equal to the
amount of unpaid compensation, including overtime pay, and/or prejudgment interest at the
applicable rate. 29 U.S.C. section 216(b).

161. Asa result of violations of the FLSA's minimum wage and overtime pay provisions,
Defendants have unlawfully withheld compensation from Plaintiffs and all similarly situated

individuals. Defendants are liable for unpaid compensation, together with an amount equal as

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liquidated damages, attorneys' fees and costs of this action. 29 U.S.C. section 216(b).
PRAYER FOR RELIEF
WHEREFORE, Plaintiff, on behalf of herself, all others similarly situated, prays for relief

and judgment against Defendants as follows:

 

 

 

(1) An order that the action be certified as a class action;

(2) An order that Plaintiff be appointed class representative;

(3) An order that counsel for Plaintiff be appointed class counsel;

(4) Unpaid wages;

(5) Actual damages;

(6) Liquidated damages;

Ci} Restitution;

(8) Declaratory relief;

(9) Pre-judgment interest;

(10) Statutory penalties:

(11) Civil penalties;

(12) Costs of suit;

(13) Reasonable attorneys’ fees; and

(14) Such other relief as the Court deems just and proper.

DEMAND FOR JURY TRIAL
Plaintiff, on behalf of herself, all other similarly situated, hereby demands a jury trial on all
issues so triable.
DATED: February 8, 2018 SETAREH LAW GROUP
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SHAUN SETAREH
Attorneys for Plaintiff
SIGRID R. WILLIAMS

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